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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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                                                                                    !STRICT COURT E.D.N.Y.

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 UNITED STATES OF AMERICA,

                 v.                                            DECISION & ORDER
                                                               15-CR-95-5 (WFK)
 AKMAL ZAKIROV,
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                           Defendant.
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 WILLIAM F. KUNTZ, II, United States District Judge:


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 On March 16, 2018, Akmal Zakirov ("Defendant") pied guilty to Counts One and Two of the Third
 Superseding Indictment (S-3) filed in this action, charging him with onspiracy to provide material
 support to a foreign terrorist organization in violation of 18 U.S.C.1 § 2339B(a)(l) and attempt to
 provide material support to a foreign terrorist organization in violation of 18 U.S.C. § 2339B(a)(l).
 In a handwritten letter dated March 22, 2018, Defendant requests t~~ithdraw his guilty plea. ECF
 No. 274. For the following reasons, Defendant's request is DENlor'.

                                                BACKGROUND

          On May 9, 2016, the Government filed the Third Supersedilg Indictment in this action

 against Defendant and four co-defendants. See Third Superseding Indictment (S-3), ECF No.
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 135. The Government charges Defendant with one count of Cons~iracy to Provide Material

 Support to a Foreign Terrorist Organization in violation of 18 U.S.C. § 2339B(a)(l) and one

 count of Attempt to Provide Material Support to a Foreign Terrori~t Organization in violation of

 18 U.S.C. § 2339B(a)(l). Id. at 1-2. As alleged in the Third Superseding Indictment, Defendant

 knowingly and intentionally conspired to and attempted to provide material support and

 resources to the Islamic State oflraq and the Levant (ISIL), a foreign terrorist organization. Id

 The Third Superseding Indictment also contains one count of Con piracy to Use a Firearm in

 violation of 18 U.S.C. § 924(0) in relation to Counts One and Two against three of Defendant's

 co-defendants (Akhor Saidakhmetov, Arbor Habibov, and Azizjo~ Rakhmatov), and one count




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 of Travel Document Fraud in violation of 18 U.S.C. § 1546(a) against one of Defendant's co- 1




 defendants (Saidakhmetov). Id. at 2-4.
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        On December 20, 2017, this Court sentenced defendant Saidakhmetov to 180 months of
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 custody following his plea of guilty to Count One of the Third Superseding Indictment.

 Judgment as to Saidakhmetov, ECF No. 263. On August 29, 2017, defendant Habibov pled

 guilty to Counts One and Three of the Third Superseding Indictment. ECF No. 225. Defendant

 Habibov has not been sentenced yet. On October 27, 2017, this Corrt sentenced Abdurasul

 Juraboev, another co-defendant in this action, to 180 months of imprisonment following his

 guilty plea to Count One of the Second Superseding Indictment (S~2), ECF No. 63, charging him

 with Conspiracy to Provide Material Support to a Foreign TerroriJ Organization in violation of
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 18 U.S.C. § 2339B(a)(l). Judgment as to Juraboev, ECF No. 252.
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        On March 16, 2018, Defendant pied guilty to Counts One fd Two of the Third

 Superseding Indictment, and this Court accepted his plea. ECF Nd.I 275. Defendant is the fourth
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 defendant to plead guilty in this case. In a handwritten letter addrdssed to this Court dated March
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 22, 2018 and filed on April 2, 2018, Defendant requests to withdraw his guilty plea. Defendant's

 March 22, 2018 Letter, ECF No. 274. Defendant's letter asserts t~at Defendant's attorney, Mr.

 Joshua Dratel, met with Defendant two days before the guilty plealhearing "only for 2-3 minutes

 without a translator, when Mr. Dratel abruptly left." Id. Although Defendant "consider[s]

 [him]self to have a good command of English," Defendant states Je needed the services of Mr.
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 Dratel and a translator to fully understand the agreement. Id. Defendant claims Mr. Dratel

 "didn't go over the agreement with me and I wasn't able to ask h+ some important questions."

 Id. The letter also asserts Defendant felt "afraid and under duress ,to plead guilty" because of his

 concern that another postponement of the guilty plea hearing "would make [him] look bad" in
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 the eyes of the Court and the Assistant United States Attorneys givdn that Defendant "previously

 refused several times to plead guilty." Id.



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                                           DISCUSSION

 I.     Legal Standard for Withdrawal of a Guilty Plea

        Federal Rule of Criminal Procedure 11 governs the withdra I al of a guilty plea after the
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 plea has been accepted by the Court. 1 Rule 11 provides: "A defendant may withdraw a plea of
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 guilty or nolo contendere ... after the court accepts the plea, but before it imposes sentence if:

 (A) the court rejects a plea agreement under Rule 1l(c)(S); or (8) ~e defendant can show a fair

and just reason for requesting the withdrawal." Fed R. Crim. Pro. l l(d). "A defendant who

 seeks to withdraw his or her plea bears the burden of showing that there are valid grounds for

withdrawal." United States v. Schmidt, 373 F.3d 100, 102 (2d Cir. t004) (citation omitted); see

 United States v. Maher, 108 F.3d 1513, 1529 (2d Cir. 1997). If a defendant has shown a valid

ground for relief, only then will the government be required to show prejudice, and the Court
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uses its discretion in balancing these concerns. Maher, 108 F.3d at 1529 (citations omitted). A

district court's decision regarding withdrawal of a guilty plea is reviewed for abuse of discretion.
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Schmidt, 373 F.3d at 102; United States v. O'Hara, 960 F.2d 11, 14:(2d Cir. 1992).

        To evaluate whether a defendant has provided a "fair andjur reason," courts consider,

inter alia, "( 1) whether the defendant has asserted his or her legal i911ocence in the motion to

withdraw the guilty plea; (2) the amount of time that has elapsed between the plea and the

motion (the longer the elapsed time, the less likely withdrawal wou ~ be fair and just); and (3)



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        Federal Rule of Criminal Procedure 32(e) formerly governe withdrawal of a guilty plea,
but the 2002 amendments to the Federal Rules of Criminal Procedute moved the provisions
dealing with withdrawal of a guilty plea to Rule 11. See United States v. Lopez, 385 F.3d 245,
248 n.3 (2d Cir. 2004); Advisory Committee Notes to 2002 Amendr ents to Fed R. Crim. Pro.
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11.

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 whether the government would be prejudiced by a withdrawal ofth~ plea." Schmidt, 373 F.3d at

 102-03 (citation omitted). "Courts may also look to whether the de~endant has 'raise[d] a
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 significant question about the voluntariness of the original plea."' Id at 103 (quoting United

 States v. Torres, 129 F.3d 710, 715 (2d Cir. 1997)). "A defendant ias no automatic entitlement
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 to have such a motion granted, for '[s]ociety has a strong interest in the finality of guilty pleas,'

 and allowing withdrawal of pleas not only 'undermines confidence )in the integrity of our judicial

 pr~cedures,' but also 'increases the volume of judicial work, and delays and impairs the orderly

 administration of justice."' Maher, 108 F.3d at 1529 (quoting Unit~d States v. Sweeney, 878

 F.2d 68, 70 (2d Cir. 1989) (per curiam)). In United States v. Hernandez, the Second Circuit
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 upheld the district court's denial of a motion to withdraw a guilty p~ea where the defendant

 argued he received the ineffective assistance of counsel "because he did not speak English and
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 had only five minutes to review the agreement through an interprettr before entering the

 courtroom." 242 F.3d 110, 112-13 (2d Cir. 2001) (per curiam). The Second Circuit held the

 district court was permitted to rely on the defendant's sworn state1ents, made in open court with
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 a translator's assistance, that "he understood the consequences of hrs plea, had discussed the plea

 with his attorney, knew that he could not withdraw the plea, unders~ood that he was waiving his

 right to appeal a sentence below 120 months, and had been made no promises except those

 contained in the plea agreement." Id. at 112 (citations omitted).      I
        Furthermore, "[a] defendant is not entitled to an evidentiary hearing as a matter of right

 whenever he seeks to withdraw his guilty plea. Although the stand~d to be applied in granting a

 hearing is less rigorous than the standard for granting the motion t, withdraw the plea, the

 defendant must present some significant questions concerning the ~oluntariness or general

 validity of the plea to justify an evidentiary hearing." United States v. Gonzalez, 910 F.2d 1095,

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 1100 (2d Cir. 1992) (citation omitted). "No hearing need be grant1 when the allegations on a

 motion to withdraw a guilty plea before sentencing merely contradict the record, are inherently

 incredible, or are simply conclusory." Id (citations omitted); see ~nited States v. Diaz, 176 F.3d

 52, 114 (2d Cir. 1999) (declining to remand for evidentiary hearing concerning voluntariness of

 defendant's guilty plea where defendant's "sworn statements durinf his plea hearing directly

 contradict an involuntary guilty plea for he stated under oath, inter biia, that (1) he was satisfied
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 with his counsel's representation of him; (2) the plea was of his   owp free will; (3) he was guilty
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 and stated that he understood that the court would not accept his pita if he claimed to be

 innocent; and (4) he had no questions regarding the sentencing proceeding after the plea was
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 entered" (citations omitted)); Torres, 129 F.3d at 716 (holding disict court's denial of

 evidentiary hearing was not an abuse of discretion because, amonglother reasons, defendant's

 "clear and knowing plea allocution" did not demonstrate the need for a hearing, and defendant's

 allegations merely contradicted the record).

II.     Application

        Defendant has failed to articulate a "fair and just reason" fof withdrawing his guilty plea,

 as required by Rule 11. As this Court understands Defendant's lettbr, Defendant argues he

 should be permitted to withdraw his guilty plea because (i) he did Jot fully understand his plea

 agreement and the consequences of pleading guilty, and (ii) he pie, guilty because he felt

 coerced. Both of these claims are belied by Defendant's sworn sta ements during the plea

 hearing.

        During the plea hearing, Defendant stated to this Court on Tultiple occasions that he

 understood the rights he was giving up by pleading guilty and the crnsequences of his guilty

 plea. Specifically, Defendant stated he understood he had a right to plead not guilty and proceed
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 to trial, and by pleading guilty, he was giving up all of the associat d rights he would otherwise

 have, including the presumption of innocence, his right to call witnfsses, and his right to testify

 on his behalf ifhe chose to so testify. March 16, 2018 Hearing Transcript ("Tr.") 11:18-13:19.
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 Defendant stated he understood he was giving up his right to appeal even ifhe were sentenced to
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 up to 360 months of imprisonment. Tr. 13:12-14:5. The Court adv~sed Defendant of the

 statutory penalties he faces for Counts One and Two of the Third srperseding Indictment, and

 Defendant affirmed he understood each of those penalties, including that he could be deported

 and removed from this country. Tr. 15:7-17:8. Defendant confirmld that his attorney, Mr.
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 Dratel, had discussed the sentencing guidelines with him, and afterjbeing asked ifhe had any

 questions for the Court, Defendant said no. Tr. 17: 16-18: 13. An lzbek interpreter was present

 for the proceeding "essentially on standby" because, according to ~fr. Dratel, "Mr. Zakirov's

 English is very good, but we just wanted to make sure he was fully !comfortable with all the

 concepts that the Court would present in the course of an allocutio1." Tr. 2:22-3: 1. At no point

 during the plea hearing did Defendant in any way indicate that he needed the services of the

 interpreter to understand what was happening. Furthermore, this clurt specifically asked

 Defendant if he was satisfied with the assistance of his counsel, an4 Defendant stated he was

 satisfied and believed he had received the effective assistance of c°lnsel in his case. Tr. 10:25-

 11 :6. Mr. Dratel also advised the Court that he had discussed the question of a guilty plea with

 Defendant and, in Mr. Dratel's view, Defendant understood the riglts
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                                                                      he was waiving by

 pleading guilty. Tr. 10:15-21.

        After pleading guilty to Counts One and Two of the Third iuperseding Indictment, in

 response to this Court's questions, Defendant affirmed he was plea4{ing guilty voluntarily and of

 his own free will with respect to each count. Tr. 20:8-17. This colrt asked Defendant if anyone
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 had threatened or forced him to plead guilty, and Defendant stated , o one had forced or

 threatened him to plead guilty. Tr. 20: 18-23. Defendant allocuted fO agreeing with others and

 attempting to provide funding for persons to travel to Syria to join and fight for ISIS, which

 Defendant knew to be a foreign terrorist organization. Tr. 21 :6-21. I Finding Defendant was

 acting voluntarily and with a full understanding of the charges, his tights, and the consequences

 of his plea, and finding a factual basis for the plea, this Court accepted Defendant's guilty plea to
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 Counts One and Two of the Third Superseding Indictment. Tr. 22:7-15.
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        Where, as here, a defendant's allegations in support of a mo~ion to withdraw a guilty plea

 after acceptance by the Court "merely contradict the record ... or are simply conclusory," a

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 district court may deny a motion to withdraw a guilty plea without hearing. Torres, 129 F.3d at
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 715 (quotation marks and citation omitted). Moreover, Defendant 1as not asserted any claim of
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 innocence in his letter, and a defendant's "change of heart prompted by his reevaluation of either
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 the Government's case against him or the penalty that might be imposed is not a sufficient reason
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 to permit withdrawal of a plea." United States v. Grimes, 225 F.3d ~54, 259 (2d Cir. 2000) (per

curiam) (citation omitted). Courts in this circuit have rejected requjsts to withdraw guilty pleas

under similar circumstances. See, e.g., United States v. Bido, 14-Ci-212, 2015 WL 13649576,

at *2 (S.D.N.Y. Jan. 21, 2015) (Sullivan, J.) (denying motion to witpdraw guilty plea based on

purported involuntariness of plea, including allegation defendant was forced into pleading guilty

by his attorney, where defendant's statements during plea hearing cfntradicted defendant's

claims in support of withdrawal); United States v. Akomah, 06-CR-1096,
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                                                                       2007 WL 4245841, at

 *5-6 (S.D.N.Y. Nov. 29, 2007) (Preska, J.) (denying motion to wi,braw guilty plea where

defendant claimed his attorney "never reviewed the entire plea agrefment with him" and claimed

he did not understand the agreement because, during the plea collo~uy, defendant expressly


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acknowledged his understanding of the agreement, the voluntary nature of his plea, and stated he
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was satisfied with his attorney's performance). Furthermore, althou,h Defendant sent his letter

within a short amount of time after the guilty plea-approximately one week-that factor alone
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is not controlling and warrants neither withdrawal of the plea nor a h~aring. Finally, because

Defendant has failed to demonstrate a valid basis for relief, the Govepunent is not required to

show prejudice. Maher, 108 F.3d at 1529.

                                         CONCLUSION

       Defendant pled guilty to conspiring to provide and attempting to provide material support
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to ISIL, a known terrorist organization. Defendant has failed to meet his burden of showing a

fair and just reason for withdrawal of his guilty plea, as the law requires. Defendant's request to
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withdraw his guilty plea is therefore DENIED.                         I




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                                                                    s/WFK




Dated: April 23, 2018
       Brooklyn, New York




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